                     Case 1:13-cr-00220-JRH-BKE Document 481 Filed 06/03/16 Page 1 of 1
AO 247(lO/H) Order Regarding Motion for Sentence Reduction i'lirsuant to 18 U.S.C. § 3582(c)(2)                                Page'of 2(Page 2 Not for Public Disclosure)
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                                                                                                                                      U.S.DiSTRiCT COURT
                                                               United States District Court                                              AU^-'SfA DfV.
                                                                                      for the

                                                                     Southern District of Georgia                                     2016 JUN-3 AMIh 23
                                                                            Augusta Division
                        United States of America                                       )                                         CLERK
                                         V.                                            )
                                                                                                                                          SO.oFsA/br GA
     Eduardo Juarez Gallegos, aka "Eddie," aka "Cero"                                   ^ ygM ^"0:
Date of OriginalJudgment:          January 21, 2015                                    ) David P. Dekle
Date of Previous Amended Judgment: Not Applicable                                      ) Defendant's Attorney
(Use Dale ofLast Amended Judgment ifAny)


                         Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

            Upon motion of                 the defendant Q the Director ofthe Bureau of Prisons Qthe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § IB 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
 2£ DENIED. I [granted and the defendant's previously imposed sentence of imprisonment (as reflected in the lastjudgment
                           issued) of                months is reduced to                                                                                               ■


                                                    (Complete Parts I and II ofPage 2 when motion is granted)




Except as otherwise provided above, all provisions ofthe judgment dated                             January 21. 2015,     shall remain in effect.
IT IS SO ORDERED.                                                                          ^
Order Date:
                                                                                                                           ignature




                                                                                             J. Randal Hall
Effective Date:                                                                              United States District Judge
                         (ifdifferentfrom order dale)                                                           Printed name and title
